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                                  UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION
IN RE:

CARL EDWARD MORELLI
                                                                      CASE NO. 6:18-bk-02644-KSJ
                                                                      CHAPTER 7
Debtor(s).
_________________________________/


                          NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
         Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
         further notice or hearing unless a party in interest files a response within twenty-one (21) days from
         the date set forth on the attached proof of service, plus an additional three (3) days for service if any
         party was served by U.S. Mail.

         If you object to the relief requested in this paper, you must file a response with the Clerk of the
         Court at 400 West Washington Street, Suite 5100, Orlando, Florida 32801 and serve a copy on the
         movant’s attorney, Alejandro Martinez-Maldonado, EXL LEGAL, PLLC, 12425 28th Street North,
         Suite 200, St. Petersburg, FL 33716, and any other appropriate persons within the time allowed. If
         you file and serve a response within the time permitted, the Court will either schedule and notify you
         of a hearing, or consider the response and grant or deny the relief requested without a hearing.

         If you do not file a response within the time permitted, the Court will consider that you do not
         oppose the relief requested in the paper, will proceed to consider the paper without further notice or
         hearing, and may grant the relief requested.

                           MOTION FOR RELIEF FROM AUTOMATIC STAY
                                    Property Being Surrendered
                             (9 ORCHARD STREET, MADISON, NJ 07940)

                 COMES NOW Movant, MTGLQ INVESTORS, LP, a secured creditor, by and through
         its undersigned counsel, and respectfully moves this court pursuant to 11 U.S.C. §362(d) of the
         Bankruptcy Code to grant relief from stay and as grounds in support thereof would show the
         following:
             1. That this is a Motion pursuant to Bankruptcy Rule 4001(a) for relief from the Automatic
         Stay.
             2. On May 4, 2018, CARL EDWARD MORELLI, ("Debtor") filed a petition for relief
         under the Bankruptcy Code.
             3. Movant is the holder by Assignment recorded in O.R. Book 22603, Page 1011 and by
         Assignment recorded in O.R. Book 23008, Page 1778 and by Assignment recorded in O.R.
         Book 22612, Page 802 and by Assignment recorded in O.R. Book 23008, Page 1784 of a

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     secured claim against Debtor, pursuant to a Promissory Note and Mortgage from CARL E
     MORELLI to MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS
     NOMINEE FOR COUNTRYWIDE HOME LOANS, INC. dated February 22, 2007, recorded
     in Morris County, New Jersey, on March 1, 2007, with O.R. Book 20757 Page 0876, which
     constitutes a lien upon real property described as follows:
                 ALL THAT CERTAIN LOT, PIECE OR PARCEL OF LAND,
                 WITH THE BUILDINGS AND IMPROVEMENTS THEREON
                 ERECTED, SITUATE, LYING AND BEING IN THE BOROUGH
                 OF MADISON COUNTY OF MORRIS STATE OF NEW
                 JERSEY:
                 BEING KNOWN AND DESIGNATED AS UNIT C BUILDING 1
                 SITUATED IN 10 ORCHARD STREET TOGETHER WITH AN
                 AGGREGATE 11.57 UNDIVIDED PERCENTAGE INTEREST
                 IN THE GENERAL COMMON ELEMENTS OF SAID
                 CONDOMINIUM APPURTENANT TO THE AFORESAID
                 UNITS IN ACCORDANCE WITH AND SUBJECT TO THE
                 TERMS, LIMITATIONS, CONDITIONS, COVENANTS,
                 RESTRICTIONS, EASEMENTS, AGREEMENTS AND
                 PROVISIONS SET FORTH IN THE MASTER DEED AND BY-
                 LAWS OF SAID CONDOMINIUM, DATED SEPTEMBER 09,
                 1993 AND RECORDED OCTOBER 13, 1993 IN THE MORRIS
                 COUNTY CLERK`S OFFICE IN DEED BOOK 3857 PAGE 90
                 AND AS AMENDED IN DEED BOOK 3873 PAGE 263 AND
                 DEED BOOK 3887 PAGE 239 AS THE SAME MAY NOW OR
                 HEREAFTER BE LAWFULLY AMENDED.

                 COMMONLY KNOWN AS: 9 ORCHARD STREET, UNIT - C
                 BLDG 1 10 ORCHARD STREET, MADISON NEW JERSEY

                 IN COMPLIANCE WITH CHAPTER 157, LAWS OF 1977,
                 PREMISES HEREIN ARE BLOCK 4309 LOT 9.03C00-C ON
                 THE TAX MAP OF THE ABOVE MUNICIPALITY.

                 a/k/a 9 ORCHARD STREET UNIT 9, MADISON, NJ 07940

      as evidenced by the Promissory Note, Mortgage and Assignments of Mortgage (the "Loan
     Documents") attached hereto as Exhibit "A". Debtor(s) executed a promissory note secured by a
     mortgage or deed of trust. The promissory note is either made payable to Creditor or has been
     duly indorsed. Creditor, directly or through an agent, has possession of the promissory note.
     Creditor is the original Mortgagee or beneficiary or the assignee of the mortgage or deed of
     trust.


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        4. Pursuant to Debtor’s Statement of Intentions, the property is being surrendered.
        5. Pursuant to Debtor’s Schedule C, the property is not claimed exempt.
        6. The Trustee has not filed the Report of No Distribution as of the filing of this Motion.
        7. The Trustee has not abandoned the property.
        8. The Loan Documents are in default in that the Debtor failed to make the contractual
     mortgage payment due under the Loan Documents on September 1, 2010, and thereafter.
        9. In addition, late charges and other costs and expenses are now due and owing, as set
     forth on the Affidavit of Indebtedness in support of this motion, attached hereto.
        10. Movant’s estimated market value of the real property is $361,600.00.
        11. Debtor has no equity in the real property, as evidenced by the report from the property
     assessor’s office of Morris County, New Jersey, which report is attached hereto as Exhibit “B”.
        12. Movant has obligated itself to pay costs and its attorney a reasonable fee for services in
     connection with these bankruptcy proceedings and, pursuant to the terms of the Security
     Documents, Debtor is obligated to reimburse Movant for said fees of $350.00 and costs of
     $181.00, which shall run with the land.
        13. Movant respectfully requests the court to permit Movant to offer and provide Debtor(s)
     with information regarding a potential Forbearance Agreement, Loan Modification, Refinance
     Agreement, or other Loan Workout/Loss Mitigation Agreement, and furthermore, to enter into
     such agreement with Debtor(s).
        14. Movant respectfully requests that the Court waive the fourteen (14) day stay of the
     Order Granting Motion to Terminate or Modify Automatic Stay pursuant to Bankruptcy Rule
     4001(a)(3), so that Movant can pursue its in rem remedies without further delay.
        15. Movant requests that if Debtor converts this case to another chapter then the relief
     granted herein will survive any such conversion; and if converted Debtor will not be allowed to
     include Movant in a plan of reorganization.


             WHEREFORE Movant prays this Court
        A. Enter its order in rem, granting relief from automatic stay to allow Creditor to pursue
     remedies via foreclosure, or in the alternative; that
        B. That the automatic stay be modified to permit Movant to contact the Debtor by
     telephone or written correspondence and, at its option, offer, provide and enter into any


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     potential forbearance agreement, loan modification, refinance agreement or other loan
     workout/loss mitigation agreement; and
        C. That the fourteen (14) day stay of the Order Granting Relief pursuant to Bankruptcy
     Rule 4001 (a)(3) be waived so that MTGLQ INVESTORS, LP can pursue its in rem relief
     without further delay; and
        D. That the mortgage indebtedness that shall run with the property shall be increased to
     include $531.00 for attorney`s fees and costs incurred in filing the Motion to Terminate
     Automatic Stay; and
        E. For such other and further relief as the Court may deem just and proper.

                                                  eXL Legal, PLLC
                                                  Email Address: bk@exllegal.com
                                                  12425 28th Street North, Suite 200
                                                  St. Petersburg, FL 33716
                                                  Telephone No. (727) 536-4911
                                                  Attorney for the Movant

                                                  By: /s/ Alejandro G. Martinez-Maldonado
                                                  Alejandro G. Martinez-Maldonado
                                                  FL BAR # 108112




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                                 CERTIFICATE OF SERVICE

      I HEREBY CERTIFY THAT a true and correct copy of the foregoing was furnished on
September 27, 2018, by U.S. Mail and/or electronic mail via CM/ECF to:

JUSTIN R INFURNA, ESQ.
THE INFURNA LAW FIRM
121 SOUTH ORANGE AVE STE. 1500
ORLANDO, FL 32801

MARIE E. HENKEL, TRUSTEE
3560 SOUTH MAGNOLIA AVENUE
ORLANDO, FL 32806

UNITED STATES TRUSTEE - ORL7/13
GEORGE C. YOUNG FEDERAL BUILDING
400 WEST WASHINGTON STREET, SUITE 1100
ORLANDO, FL 32801


      The parties identified below were served on September 27, 2018 by U.S. Mail.

CARL EDWARD MORELLI
1014 BANKS ROSE STREET
KISSIMMEE, FL 34747



                                                 eXL Legal, PLLC
                                                 Email Address: bk@exllegal.com
                                                 12425 28th Street North, Suite 200
                                                 St. Petersburg, FL 33716
                                                 Telephone No. (727) 536-4911
                                                 Attorney for the Movant

                                                 By: /s/ Alejandro G. Martinez-Maldonado
                                                 Alejandro G. Martinez-Maldonado
                                                 FL BAR # 108112




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